Case 22-10602-JKS   Doc 748   Filed 09/05/23   Page 1 of 5
Case 22-10602-JKS   Doc 748   Filed 09/05/23   Page 2 of 5




                    Exhibit A
                                          Case 22-10602-JKS      Doc 748      Filed 09/05/23    Page 3 of 5

                                                                    Exhibit A
                                                              Served via First-Class Mail
                             Name                                Attention                    Address 1       Address 2       City    State     Zip
City Clerk of Boston, MA                                                               1 City Hall Ave                   Boston       MA    02109
City Clerk of Richmond, VA                             Accounts Payable Department     900 E Broad St         Room 1004 Richmond      VA    23219
Internal Revenue Service                                                               310 Lowell St                     Andover      MA    01810
Internal Revenue Service                                                               PO Box 7346                       Philadelphia PA    19101-7346
Massachusetts Department of Revenue                                                    200 Arlington St                  Chelsea      MA    02150
Massachusetts Secretary of the Commonwealth Corp Div                                   One Ashburton Place    Room 1717 Boston        MA    02108-1512
Securities & Exchange Commission                                                       100 F St NE                       Washington DC      20549
Virginia Commissioner of Revenue                                                       144 N Sycamore St                 Petersburg VA      23803
Virginia Department of Taxation                                                        1957 Westmoreland St              Richmond     VA    23230
Virginia Department of Taxation                                                        600 E Main St          Suite 1100 Richmond     VA    23219
Virginia Office of the Attorney General                                                202 N Ninth St                    Richmond     VA    23219
Virginia State Income Tax                                                              9901 Lori Rd                      Chesterfield VA    23832




In re: Agway Farm Home Supply, LLC
Case No. 22-10602 (JKS)                                                                                                                     Page 1 of 1
Case 22-10602-JKS   Doc 748   Filed 09/05/23   Page 4 of 5




                    Exhibit B
                                                               Case 22-10602-JKS            Doc 748    Filed 09/05/23      Page 5 of 5

                                                                                              Exhibit B
                                                                                       Served via Electronic Mail

                            Name                                              Attention 1                                      Attention 2                                     Email
                                                                                                                                                               jwaxman@morris.james.com
  Agway Farm & Home Supply, LLC                             c/o Morris James LLP                             Attn: Jeffrey R. Waxman & Brya M. Keilson         bkeilson@morrisjames.com
                                                                                                                                                               afriedman@shulmanbastian.com
  Agway Farm & Home Supply, LLC                             c/o Shulman Bastrian                             Attn: Alan J. Friedman & Melissa Davis Lowe       mlowe@shulmanbastian.com
  Animal Health International Inc.                          Attn: Heather Kayser                                                                               heather.kayser@pattersonvet.com
  Animal Health International Inc.                          c/o Bernick Lifson PA                            Attn: Jack E. Pierce                              jpierce@bernicklifson.com
  Anthem Health Plans of Virginia, Inc., d/b/a Anthem
  Blue Cross and Blue Shield                                c/o McGuireWoods LLP                             Attn: Joseph S. Sheerin, Esq.                     jsheerin@mcguirewoods.com
  Cargill Animal Nutrition- Pro Pet                                                                                                                            kate_hibbard@cargill.com
  Delaware Secretary of State                               Division of Corporations                                                                           dosdoc_bankruptcy@state.de.us
  Delaware State Treasury                                                                                                                                      statetreasurer@state.de.us
  Growmark FS, LLC                                          c/o Franklin & Prokopik                          Attn: William A. Crawford                         wcrawford@fandpnet.com
                                                                                                                                                               gdemartino@hubgroup.com
  Hub Group, Inc.                                           Attn: Geoffrey F. De Martino                                                                       kenneth.listwak@troutman.com
  Mansfield Oil Company of Gainesville, Inc.                c/o Thompson, O'Brien, Kappler & Nasuti, PC                                                        mpugh@tokn.com
  Massachusetts Office of the Attorney General                                                                                                                 ago@state.ma.us
                                                                                                                                                               ustpregion03.wl.ecf@usdoj.gov
  Office of the U.S. Trustee for the District of Delaware   Attn: Richard L. Schepacarter                                                                      richard.schepacarter@usdoj.gov
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                                                                                                             Attn: Bradford J. Sandler, Colin R. Robinson, &   crobinson@pszjlaw.com
  Official Committee of Unsecured Creditors                 c/o Pachulski Stang Ziehl & Jones LLP            Steven W. Golden                                  sgolden@pszjlaw.com
  Official Committee of Unsecured Creditors                 c/o Pachulski Stang Ziehl & Jones LLP            Attn: Robert J. Feinstein                         rfeinstein@pszjlaw.com
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  Securities & Exchange Commission                          Attn: Lara Shalov Mehraban                                                                         nyrobankruptcy@sec.gov
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  Southern States Cooperative, Inc.                         c/o Hirschler Fleischer                          Attn: Stephen E. Leach                            sleach@hirschlerlaw.com
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  Southern States Cooperative, Inc.                         c/o Young Conaway Stargatt & Taylor, LLP         Attn: Ryan P. Newell & Robert F. Poppiti, Jr.     bankfilings@ycst.com
  The Scotts Company, LLC                                   Attn: David S. Robinson                                                                            dave.robinson@scotts.com
                                                                                                                                                               deggert@bcblaw.net
  True Value Company, LLC                                   c/o Beck Chaet Bamberger & Polsky SC             Attn: Devon J. Eggert                             pfoster@bcblaw.net
  True Value Company, LLC                                   c/o Joyce, LLC                                   Attn: Michael J. Joyce                            mjoyce@mjlawoffices.com
  U.S. Attorneys Office for the District of Delaware        Attn: David C. Weiss                                                                               usade.ecfbankruptcy@usdoj.gov
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  Wildlife Sciences LLC                                     Attn: William J. Gleason                                                                           colton.gleason@wildlifesciences.net
  Woodgrain Millwork Inc.                                   Attn: President, General, or Managing Agent                                                        rhullette@woodgrain.com
  Woodgrain Millwork Inc.                                   Attn: President, General, or Managing Agent                                                        creditdept@woodgrain.com




In re: Agway Farm Home Supply, LLC
Case No. 22-10602 (JKS)                                                                                                                                                                    Page 1 of 1
